Case 2:03-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 1 of 25

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FoR THE MIDDLE DrsTRlCT oF ALABAMA

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sANDRA_§IaoLT, DEBRA GAWoR, ) MAH 1 2 2004
POLLY Sl\/HTH,"JOANN MORRIS, )
MARTY COOPER7 ADELIA HARTZOG, ) CLERK
and PAUL D. PITTMAN, ) 33 S. D:sTR,CT 00 7
on behalf of themselves and all others ) DDLE DIS`[ OF ALET
similarly situated, ) '
)
Plaintiffs, )
)
vS. ) CIVIL ACTION NUl\/[BER;
) Cv-03-A-748-N
) JURY DEMAND
RITE AID CORPORATION, )
)
Defendants. )

PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION TO
FACILITATE 29 U.S.C. §216(b) NOTICEl
I. INTRODUCTION
Sandra Holt, Debra GaWor, Polly Smith, and Joann Morris ("Plaintif`fs") filed this case
against Rite Aid Corporation (hereinal°cer "Rite Aid") as a collective action under the Fair Labor
Standards Act ("FLSA"), 29 U.S.C. §216(b). Since the filing of the initial lawsuit, Marty Cooper,
Adelia Hartzog, and Paul Pittman filed Consent to Join forms and Motions to Amend the Complaint
seeking to become party plaintiffs This Court granted said Motions to Amend and Plaintiff`s
Cooper, Hartzog and Pittman are now named plaintiffs in this litigation The plaintiffs seek to

recover unpaid overtime compensation7 prejudgement interest on award of back-pay, liquidated

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Case 2:03-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 2 of 25

damages and attorneys’ fees and costs. The plaintiffs seek to represent all "similarly situated"
Assistant Store Managers and/or Store Managers (current and former) of Rite Aid who were
employed by Rite Aid and who were subject to Rite Aid’s uniform policy of not paying them
overtime compensation during the three (3) years prior to filing of the Complaint.

To participate in this case, all individuals must "opt-in" by filing a written consent to
participate in this lawsuit FLSA, 29 U.S.C. §216(b). In order to decide whether to opt into this
case, similarly situated individuals need to be apprized of the pendency of this case in an timely
manner; otherwise, the claims of many such employees will be barred by the FLSA statute of
limitations 1

For the reasons stated herein, the plaintiffs request that this Court authorize this case to
proceed as a nation-wide collective action,2 order the requested identification of the potential opt-
ins, and authorize the issuance of the plaintiffs’ proposed notice (Exhibit #l) to be mailed to all
Assistant Store Managers and/or Store Managers of Rite Aid, who have been classified as exempt
in the three years prior to the filing of the complaint7 informing them of their rights to participate as

opt-in plaintiffs in this action

 

lUnder the FLSA, the statute of limitations applicable in a given action may be two years or,
as the plaintiffs allege herein, three years due to defendant’s wilful violations of the FLSA. Km'ghls
ofColumbus, GA, 19 F.3d 579, 582 (l lth Cir.); cert. denied, 513 U.S. 929 (1994); FLSA7 29 U.S.C.
§255(a).

2Plaintiff`s seek nation-wide notice, with the exception of the Stores and employees in the
State of California In 1999, Assistant Store Managers, Store Managers, and Manager Trainees
brought suit for wage and hour violations under California state law. Albrechf, et. al. v. Rite Aid
Corporation, Case No. 729219, San Diego County Superior Court. That case was resolved in 2001,
with among other things, all Assistant Managers in the State of California being reclassified as
hourly, non-exempt employees and compensated for overtime hours in which they now work.
(Exhibit #4 - LeClair Depo. pp. 10-13; Exhibit #5).

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Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 3 of 25

H. STATEMENT OF THE FACTS
A. PROCEDURAL HISTORY

The plaintiffs (Holt, Gawor, Smith, and Morris) filed their initial collective action Complaint
in this matter on July l6, 2003 On September 15, 2003, defendant filed its Answer and Defenses
to plaintiffs’ Complaint Since the filing of the initial lawsuit, Marty Cooper filed a Consent to Join
Form and Motion to Amend the Complaint on September 18, 2003 seeking to be added as a party
plaintiff On December 23, 2003 and December 30, 2003 Adelia Hartzog, and Paul Pittman also
filed Consent to Join forms and Motions to Amend the Complaint seeking to become party plaintiffs
(Exhibit #2). On December 22, 2003, December 29, 2003, and January 5, 2004, this Court granted
all three amendments thus, allowing Cooper, Hartzog, and Pittman to become named plaintiffs in
this litigation The defendant filed its Amended Answer on January l9, 2004. Marie Walker has
also signed a Consent to Join form and pursuant to the previous instructions from the Court and the
clerk’s office is also filing a Motion to Amend the Complaint to add her as a party plaintiff (Exhibit
#3).

B. PLAINTIFFS’ ALLEGATIONS

The plaintiffs allege that Rite Aid requires its exempt Assistant Store Managers and all Store
Managers to work numerous hours of overtime per week without any additional compensation being
paid to said employees The defendant has intentionally failed and/ or refused to pay these
employees for all hours worked and has failed to pay overtime rates in accordance with the
provisions of the FLSA.

Rite Aid Corporation is one of the nation’s leading drugstore chains (Exhibit #6). Rite Aid
maintains approximately 3,400 stores in 28 states and the District of Columbia. (Exhibit #6; Exhibit

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Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 4 of 25

#7- Bailey Depo. p. 17; Exhibit #S)3 Rite Aid’s headquarters is located in Camp Hill, Pa and all of
its drugstores currently in operation are branded under the Rite Aid name (Exhibit #7 - Bailey
Depo. pp. 18-19)_

Rite Aid drugstores are divided into three Divisions - Division #l - Western, Division #2 -
Central, and Division #3 - Eastern. (Exhibit #7 - Bailey Depo., p. 16; Exhibit #9). Each Division
is divided into Regions and Districts within each Region. (Id. )4 The organizational and management
structure for each Division is similar Mark Panzer, Senior Executive Vice President of Store
Operations, oversees store operations for stores in all three Divisions. (Exhibit #9; Exhibit #lO -
Panzer Depo. pp. l l). There is a Vice President under Panzer and over each Division. (Exhibit #9;
Exhibit #l l). A Regional Vice President reports to the Divisional Vice President and is responsible
for each Region; while each District is overseen by a District Manager (Exhibit #l l).

Each store employs Cashiers/Clerks (who are non-exempt, hourly employees) and Key
Supervisors (who are also non-exempt, hourly employees).5 (Exhibit #7 - Bailey Depo., pp. 35-37;
Exhibit #l l; Exhibit #12). Key Supervisors are part of the management team and perform all of
the job duties performed by Assistant Managers and all job duties performed by Store Managers,
except interviewing and recommending for hire entry level Cashiers/Clerks (Exhibit #l l; Exhibit

#l3). Key Supervisors are paid hourly and receive overtime compensation for hours they work in

 

3Bailey is Rite Aid’s Senior Vice President of Compensation and oversees compensation for
all Rite Aid drugstores. (Ex. #7 - Bailey Depo. p. 18).

4Exhibit #9 sets forth the location and number of Regions and Districts.

5Each store also employs Pharmacy Techs/Clerks, who are hourly, and Pharmacists, Who are
salaried (Exhibit #l l). The Pharmacist oversee the Pharmacy and its employees

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Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 5 of 25

excess of 40 hours (Exhibit #7 - Bailey Depo., p. 78-79). Key Supervisors’ FLSA classification
does not change based on the duties they perform and the responsibility they are given In other
words, these individuals remain non-exempt even when they are performing managerial duties6
(Exhibit #7 - Bailey Depo., pp. 81-83).

Prior to May, 2001, all Assistant Managers were classified by defendant as salary exempt
(Exhibit #5). However in 2001, Rite Aid re-classified all Assistant Managers in its California stores
to hourly, non-exempt (Exhibit #5; Exhibit #4 - LeClair Depo. pp. 10-13)7. Aii;er this change in
classification, the California Assistant Managers are all hourly employees regardless of the store
size, amount of sales, and duties and responsibilities they perform (Exhibit #5; Exhibit #7 - Bailey
Depo., p. 52). Since 2001, Rite Aid has classified its Assistant Managers as both exempt and non-
exempt and maintain Job Descriptions for each. (Exhibit #7 - Bailey Depo. pp. 53-55; Exhibit #14;
Exhibit #15). Assistant Managers perform the same duties and responsibilities regardless if they are
classified as exempt or non-exempt (Bailey Depo., p. 55). In fact, other than one being exempt and
the other non-exempt, there is no difference in the duties, responsibilities and qualifications of
Assistant Managers (Exhibit #7 - Bailey Depo., p. 55). Exempt and non-exempt Assistant
Managers are currently employed in all divisions and the job descriptions submitted as Exhibit #14
and #15 are the job descriptions for Assistant Managers in stores within all three Divisions. (Exhibit

#7 - Bailey Depo. pp. 53-55). Exempt Assistant Managers are not compensated with overtime pay

 

6The hourly Key Supervisor performs the duties of a Manager and Assistant Manager in their
absence (Exhibit #13). Not all stores have Assistant Managers and in those that do not, the Key
Supervisors perform the job duties of Assistant Manager. (Ia'.).

7Wayne LeClair is Rite Aid’s Corporate Vice President of Human Resources Administration
(Exhibit #4 - LeClair Depo. p. 81).

Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 6 of 25

for hours they work in excess of 40; however, non-exempt Assistant Managers are paid overtime for
performing the same duties (Exhibit #7 - Bailey Depo., p. 99).

All Store Managers, in all divisions throughout the country, are classified by defendant as
exempt employees (Exhibit #7 - Bailey Depo. pp,40-4l). Exhibit #16 is the job description for the
position of Store Manager and is the job description for all Store Managers in all stores in all
divisions throughout the country (Exhibit #16; Exhibit #4 - LeClair Depo. pp. 22, 100). Store
Managers are not compensated for overtime for hours they work in excess of 40 hours per week.
Exhibit #7 - Bailey Depo., pp. 40-42)

The job duties and responsibilities for defendant’s Assistant Managers are similar regardless
of the store, district, region and division (Exhibit #14; Exhibit #10 - Panzer Depo. p. 54; Exhibit
#4 - LeClair Depo. p. 22). The job duties and responsibilities for defendant’s Store Managers are
also similar regardless of the store, district, region and division (Exhibit #16; Exhibit #4 - LeClair
Depo. p. 22). Defendant has attempted to determine the amount of time it takes to perform certain
tasks for scheduling purposes related to its Staffworks Scheduling Program by observing a select
number of employees perform their jobs (Exhibit #17 - Markley Depo., pp. 14-15, 60-62).8 The
results of the observation of these few individuals have been applied to all employees in all stores
in all three divisions (Ia'.) The tasks standards (i.e. time spent to perform each task) are used for
all stores in all divisions, including Division 2 - Central, even though data was only compiled from

a small number of stores in Divisions l and 3. (Ia’.). ln fact, one task study by defendant only

 

8David Markley is Rite Aid’s Director of Labor Control with responsibility for monitoring
payroll. He also was responsibility for implementing Staifworks nationwide (Exhibit #17 -
Markley Depo. pp. 23, 26).

Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 7 of 25

observed employees in 20 of defendant’s 3,400 stores, but defendant applied its findings to all stores
nationwide (Exhibit #17 - Markley Depo., p. 72).

Rite Aid maintains common policies and procedures for all stores in all of the divisions,
including the Management Development Program, Rite Aid Policies and Procedure Manual, Rite
Aid Store Operations Manual, Rite Aid Manager’s Guide, and Hiring and Promotion Policy.
(Exhibit #10 - Panzer Depo., pp. 27 , 61, 62-63; Exhibit #18; Exhibit #4 - LeClair Depo. p.100). Rite
Aid also utilizes the same training program for all stores within all three divisions (Exhibit #10 -
Panzer Depo., p. 61', Exhibit #19). Defendant also utilizes the same Scheduling Program
(Staffworks) in all of its stores throughout all three divisions and, since July 2001, utilizes the same
payroll recording system (Kronos) in all its stores nationwide (Exhibit #20 - Silsby Depo., pp. 23-
24, 26).9 Defendant’s Store Manager Pay Program is also the same for all stores in all of Rite Aid’s
divisions throughout the country (Exhibit #7 - Bailey Depo., pp. 28-29, 100). Raises for employees
are all standard throughout the country, as are raises associated with promotions to Key Supervisor,
Assistant Manager, and Store Manager. (Exhibit #7 - Bailey Depo., pp. 84-85, 89-91, 100-101)_ In
addition, defendant maintains the same management work week policy for all its stores nationwide
(Exhibit #21).

Rite Aid Store Managers and Assistant Store Managers are required to work over 40 hours

per Week.10 Store Managers and exempt Assistant Managers are instructed to clock in upon their

 

9Robert Silsby is Rite Aid’s Group Vice President over Store Operation Services (Exhibit
#20 - Silsby Depo. pp. 3-4)_

10Exhibit #22', Exhibit #7 - Bailey Depo. pp. 103-104; Exhibit #20 - Silsby Depo. pp. 63;
Exhibit #4 - LeClair Depo. p. 105; Exhibit #23 - Holt declaration', Exhibit #24 - Holt Depo. pp. 101-
102; Exhibit #25 - Smith declaration; Exhibit #26 - Smith Depo. pp. 328, 337', Exhibit #27 - Morris

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Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 8 of 25

arrival at work but that they are not to clock out11 Non-exempt Assistant Managers are required to
clock in and out12 The Store Managers and Assistant Store Managers are also informed that they
were to record 50 hours per week, even if they worked in excess of that number, and an individual’ s
payroll records indicate 50 hours regardless of the number of hours actually worked13 This is true
for all stores throughout the country. (Exhibit #7 - Bailey Depo. pp. 103-104; Exhibit #20 - Silsby
Depo. p. 4l). The standardized schedule produced by Staffworks also records 50 hours per week
regardless of the number of hours actually worked by the Store Manager and Assistant Store
Manager. (Exhibit #22). In addition, the standard schedule for management personnel prepared by
Corporate for each of its divisions require Store Managers and Assistant Store Managers to work in
excess of 40 hours a week and this schedule is common for all stores within each division (Exhibit
#22) Each Rite Aid store has to stay within the store’s payroll budget, and overtime pay for the

hourly associates is not allowed14 Rite Aid stores are open 7 days per week and because the store’s

 

declaration; Exhibit #28 - Morris Depo. pp. 32, 1867 225', Exhibit #29 - Gawor declaration; Exhibit
#30 - Gawor Depo pp. 24-25, lOl, 354, 399; Exhibit #31 - Hartzog declaration; Exhibit #32 -
Pittman declaration; Exhibit #33 - Walker declaration

llExhibit #20 - Silsby Depo. pp. 61j 72-73; Exhibit #23 - Holt declaration; Exhibit #24 - Holt
Depo. p. 229; Exhibit #25 - Smith declaration', Exhibit #26 - Smith Depo. p. 328; Exhibit #27 -
Morris declaration; Exhibit #28 - Morris Depo. p. 225; Exhibit #29 - Gawor declaration', Exhibit #30
- Gawor Depo pp. 77-78; Exhibit #31 - Hartzog declaration; Exhibit #32 - Pittman declaration;
Exhibit #33 - Walker declaration

12Exhibit #5; Exhibit #20 - Silsby Depo. pp. 59-61.
13Exhibit #7 - Bailey Depo. pp. 103-104; Exhibit #20 - Silsby Depo. p. 4l; Exhibit #23 - Holt
declaration; Exhibit #24 - Holt Depo_ pp. 101-102; Exhibit #25 - Smith declaration; Exhibit #26 -

Smith Depo. p. 328; Exhibit #27 - Morris declaration', Exhibit #31 - Hartzog declaration', Exhibit #32
- Pittman declaration; Exhibit #33 - Walker declaration

14Exhibit #10 - Panzer Depo. p. 180; Exhibit # 20 - Silsby Depo. p. ll3; Exhibit #23 - Holt
declaration; Exhibit #25 - Smith declaration; Exhibit #27 - Morris declaration; Exhibit #29 - Gawor

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Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 9 of 25

payroll budget is so low and because the hourly employees are allowed to work only so many hours,
Store Managers and Assistant Store Managers are required to work approximately 50 to 80 hours
per week and are required to perform non-managerial duties without being compensated for the

overtime that they work.15

The duties and responsibilities for Rite Aid Key Supervisors, Assistant Managers, Managers
and District Managers are the same throughout all divisions16 Store Managers and Assistant Store
Managers spend in excess of 50% of their time (in fact approximately 80%) performing the same
job duties as hourly employees including Key Supervisors and Cashiers.17 The job duties that Store
Managers and Assistant Store Managers spend the majority of the time performing are running the
cash register, customer service, stocking shelves, inventory, janitorial duties, unloading trucks and
other non-managerial duties18

Even though individuals hold the job title of Store Manager, they do not have the authority

 

declaration; Exhibit #31 - Hertzog declaration; Exhibit #32 - Pittman declaration; Exhibit #33 -
Walker declaration; Exhibit #34.

15Exhibit #20 - Silsby Depo. p. 63; Exhibit #23 - Holt declaration; Exhibit #25 - Smith
declaration; Exhibit #26 - Smith Depo. p. 337; Exhibit #27 - Morris declaration; Exhibit #28 -
Morris Depo. p. 225; Exhibit #29 - Gawor declaration; Exhibit #30 - Gawor Depo pp. 24-25; Exhibit
#31 - Hartzog declaration; Exhibit #32 - Pittman declaration; Exhibit #33 - Walker declaration

16Exhibit #10 - Panzer Depo., pp. 27, 62-63, 73-74, 93-94, ll7, 120-121, 122-124, 163;
Exhibit #35; Exhibits #13, l4, 15, 16; Exhibit #4 - LeClair Depo. p. 22_

17Exhibit #23 - Holt declaration; Exhibit #25 - Smith declaration; Exhibit #27 - Morris
declaration; Exhibit #28 - Morris Depo. p. 202; Exhibit #29 - Gawor declaration; Exhibit #31 -
Hartzog declaration; Exhibit #32 - Pittman declaration; Exhibit #33 - Walker declaration

18Exhibit #lO - Panzer Depo. pp, 203-206; Exhibit #23 - Holt declaration', Exhibit #24 - Holt
Depo. pp_ 17 5-177; Exhibit #25 - Smith declaration; Exhibit #27 - Morris declaration; Exhibit #28 -
Morris Depo. p. 202', Exhibit #31 - Hertzog declaration; Exhibit #32 - Pittman declaration; Exhibit
#33 - Walker declaration

Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 10 of 25

to hire or promote Key Supervisors or Assistant Managers; terminate Key Supervisors or Assistant
Managers; set rates of pay for new employees; give pay raises; adjust and/or determine store hours
(even the case of emergencies); negotiate and sign contracts; select, negotiate and contract with
vendors; determine the type of merchandise to be bought, stocked or sold; change the schematics of
the store; change or adjust plan-o-grams and profit planners; perform physical inventories; change
locks or passwords on doors, safe, and registers; establish or change price of merchandise; determine
location of registers; determine the amount of cash left in the store overnight and amount of change
fund to be maintained; establish, adjust or change payroll, inventory and sales budgets; authorize
cash variances of any type; respond to media inquiries; determine the amount of merchandise
ordered; adjust prices of merchandise; run advertisements and sales; add new vendors, programs, or
items of merchandise; terminate an employee he/she believes is stealing; select or even contact
vendors for store maintenance; determine the filing system, office organization and set-up; and
terminate an employee without District Manager approval.19 Store Managers also do not have the
authority to change or adjust company policy, determine the amount for a cash pickup, accept payroll
checks, and make merchandise donations20 ln addition, all employees, including the non-exempt
Cashiers and Key Supervisors, handle customer complaints, are responsible for shrink (including

monitoring for shoplifting and internal theft), and training hourly employees through the buddy

 

19Exhibit #10 - PanzerDepo pp. 27-30; 32-36; 73-74; 78-79; 92-102; 104-113; 116-117; 120-
122; 124-128; 134; 150-158', 162-164; l67-l70; l83; 198; Exhibit #35; Exhibit #20 - Silsby Depo.
pp. 95-97; Exhibit #23 - Holt declaration; Exhibit #24 - Holt Depo. pp. 61-64, 66, 148, 181-184,192,
193, l97, 209-2]0, 219, 220, 221; Exhibit #25 - Smith declaration; Exhibit #26 - Smith Depo. pp.
617 89, llO-lll, 114, llS, 126-1277 l39-l407 142, 150, 221-222, 239, 260-262; Exhibit #29 -
Gawor declaration; Exhibit #30 - Gawor depo pp. 29, 72J 81, 84, 118, ll9, l7l-l73, 306; Exhibit
#31 - Hertzog declaration; Exhibit #32 - Pittman declaration

20 Exhibit #10 - Panzer Depo. pp. 63, 76, 88-89, 165; Exhibit #35.

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Case 2:O3-cv-OO74§;WHA-DRB Document 36 Filed 03/12/04 Page 11 of 25

system (a system in which hourly employees train other hourly employees). (Exhibit #10 - Panzer
Depo. pp. 197-198; 201).

A Store Manager is able to make the daily bank deposits, open the store, close the store, print
daily/weekly reports, perform cash register audits (however, they have no discretion as to write ups
for overages/shortages), accept returned merchandise, and counsel employees 21 However, Assistant
Managers and the hourly Key Supervisors also perform these same duties and such duties do not take
up a majority of the Store Manager’s time22 The only job duties which the Store Manager can
perform that the Assistant Manager and hourly Key Supervisors cannot perform are interviewing and
recommending for hire an entry level employee and terminating an employee23 However, Store
Managers cannot terminate an employee without first discussing it with the District Manager and
24

receiving approval As for hiring of entry level cashiers, Store Managers have the authority to

 

21Exhibit #10 - Panzer Depo. pp. 65; 66-68; 80-81; 85-86; 91-92; Exhibit #23 - Holt
declaration; Exhibit #24 - Holt Depo. pp, 103-104; 180-81,190; Exhibit #25 - Smith declaration;
Exhibit #26 - Smith Depo. pp. 107-108, ll6, 160, 186, 276; Exhibit #29 - Gawor declaration;
Exhibit #30 - Gawor depo pp. 216-218, 256, 281; Exhibit #31 - Hertzog declaration; Exhibit #32 -
Pittman declaration

22Exhibits #13, 14, 15; Exhibit #23 - Holt declaration; Exhibit #24 - Holt Depo. pp. 977 122-
123,178,180, 181, 189, 192, 195, 197; Exhibit #25 - Smith declaration; Exhibit #26 - Smith Depo,
pp. 7l, 168, 1697 171, 276; Exhibit #29 - Gawor declaration; Exhibit #31 - Hartzog declaration;
Exhibit #32 - Pittman declaration

23Exhibit #23 - Holt declaration; Exhibit #25 - Smith declaration; Exhibit #31 - Hartzog
declaration; Exhibit #32 - Pittman declaration; Exhibit #4 - LeClair Depo. p. 88..

24Exhibit #10 - Panzer Depo. pp. 198, 150-158; Exhibit #23 - Holt declaration; Exhibit #24 -
Holt Depo. p.66; Exhibit #25 - Smith declaration; Exhibit #26 - Smith Depo. p. 114; Exhibit #31 -
Hartzog declaration; Exhibit #32 - Pittman declaration

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Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 12 of 25

interview and recommend a candidate to the District Manager for approval.25 However, the Store
Manager is only allowed to interview candidates who first were approved by Corporate, regardless
of the candidate’ s experience or the Store Manager’ s desire to hire the candidate26 In addition, Store
Manager interviews are limited to the specific questions authorized by Corporate27 Store Managers
have no authority to set the rate of pay for a new hire or any other employee28

Even though individuals hold the job title of Assistant Manager, they do not have the
authority to hire or promote any employees including entry level Cashiers, Key Supervisors, or
Assistant Managers; terminate any employee; set rates of pay for new employees; give pay raises;
perform employee evaluations; adjust and/ or determine store hours (even the case of emergencies);
determine the hours each employee was to work; negotiate and sign contracts; select, negotiate, and
contract with vendors; determine the type of merchandise to be bought, stocked or sold; change the
schematics of the store; change or adjust plan-o-grams and profit planners; change locks or
passwords on the doors7 safe, and registers; establish or change price of merchandise; determine

location of registers; determine the amount of cash left in the store overnight and amount of change

 

25Exhibit #23 - Holt declaration; Exhibit #24 - Holt Depo. p. 67; Exhibit #25 - Smith
declaration; Exhibit #26 - Smith Depo. p. 103; Exhibit #29 - Gawor declaration; Exhibit #30 -
Gawor Depo. p. 83; Exhibit #31 - Hertzog declaration; Exhibit #32 - Pittman declaration

26Exhibit #10 - Panzer Depo. pp. 171-180; Exhibit #23 - Holt declaration; Exhibit #24 - Holt
Depo. p. 60; Exhibit #25 - Smith declaration; Exhibit #26 - Smith Depo. pp. 101, 200; Exhibit #29 -
Gawor declaration; Exhibit #30 - Gawor Depol pp_ 82-83; Exhibit #3 1 - Hertzog declaration', Exhibit
#32 - Pittman declaration

27Exhibit #18; Exhibit #23 - Holt declaration; Exhibit #24 - Holt Depo. p. 59; Exhibit #25 -
Smith declaration; Exhibit #26 - Smith Depo. p. 103; Exhibit #29 - Gawor declaration; Exhibit #31 -
Hartzog declaration; Exhibit #32 - Pittman declaration

28Exhibit #10 - Panzer Depo. p. 183-184; Exhibit #7 - Bailey Depo. pp. 77-78, 86, 89.

12

Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 13 of 25

fund to be maintained; establish, adjust or change payroll, inventory and sales budgets; authorize
cash variances of any type; respond to media inquiries; determine the amount of merchandise
ordered; adjust prices of merchandise; run advertisements and sales; add new vendors, programs, or
items of merchandise; terminate an employee he/she believes is stealing; select or even contact
vendors for store maintenance; and determine the filing system, office organization and set-up.29
Assistant Store Managers also do not have the authority to change or adjust company policy,
determine the amount for a cash pickup, accept payroll checks, and make merchandise donations30
In addition, all employees, including the non-exempt Cashiers and Key Supervisors, handle customer
complaints, make bank deposits, are responsible for shrink (including monitoring for shoplifting and
internal thef°r) and training hourly employees through the buddy system (a system in which hourly
employees train other hourly employees). (Panzer Depo. pp. 197-198; 201).

An Assistant Store Manager is able to make the daily bank deposits, open the store, close the
store, print daily/weekly reports, run register audits, accept returned merchandise, and counsel
employees31 However, the hourly Key Supervisors also perform these same duties and such duties

do not take up the majority of the Assistant’s time32 Plaintiffs’ allege that there are not any job

 

29Exhibit#lO- -PanzerDepo pp 27- 30 32- 36 198 120- 122 78- 79 182- 183 162 99- 102
167- 170 104- 111 73- 74 116- 117 124-128134, 144 92- 93 95 94- 98 100 101- 102 111- 113
116- 117 150- 158 162- 164 Exhibit #35 Exhibit #20- SilsbyDepo. pp. 95- 97 Exhibit #27- Morris
declaration; Exhibit #28- Morris Depo pp 44- 52, 54 55- 57 78 79 93 101- 102 114- 115 163
171- 173 346 Exhibit #33- Walker declaration

30Exhibit #10 - Panzer Depo. pp_ 63, 767 88-89j 165; Exhibit #35.

31Exhibit #10- Panzer Depo pp 91 -92 65 85- 86 80- 81 Exhibit #27- Morris declaration
Exhibit #28- Morris Depo pp 102 103 104 108 110, 278; Exhibit #33- Walker declaration

32Exhibit #13 Exhibit #27- Morris declaration Exhibit #28- Morris Depo pp 100 104
133- 134 198- 199 207 208 Exhibit #33- Walker declaration

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Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 14 of 25

duties in which an Assistant Manager can perform that the hourly Key Supervisors cannot perform33
Assistant Store Managers have no authority to terminate or hire any employee34

Scheduling is performed by a corporate-wide program called Staf`f`worl<s35 With Staffworks,
either the Store Manager, Assistant Manager, or a hourly Key Supervisor input the times in which
store employees are unavailable to work and Staffworks generates a schedule based on the payroll

36 Any manual changes made to the

and sales budget of the store, as determined by Corporate
Staifworks’ schedule had to be sent to the District Manager for review.37 If a management

employee33 chooses to manually adjust the Staffworks’ schedule, the adjustments are still controlled

by the payroll and sales budget so that he/she does not have complete discretion to schedule

 

33Exhibit #27 - Morris declaration; Exhibit #33 - Walker declaration

34Exhibit #27 - Morris declaration; Exhibit #28 - Morris Depo. pp. 7 9, 101-102', Exhibit 33 -
Walker declaration

35Exhibit #20 - Silsby Depo. pp. 26-28', Exhibit #23 - Holt declaration', Exhibit #24 - Holt
Depo. p. 98; Exhibit #25 - Smith declaration; Exhibit #26 - Smith Depo. p. 1 18; Exhibit #27 - Morris
declaration; Exhibit #28 - Morris Depo. pp. 1 12-1 13; Exhibit #29 - Gawor declaration; Exhibit #30 -
Gawor Depo p. 188; Exhibit #31 - Hartzog declaration; Exhibit #32 - Pittman declaration; Exhibit
#33 - Walker declaration

36Exhibit #23 - Holt declaration; Exhibit #24 - Holt Depo. p. 98; Exhibit #25 - Smith
declaration; Exhibit #26 - Smith Depo. pp. 118, 1 19, 122, 125-126', Exhibit #27 - Morris declaration',
Exhibit #28 - Morris Depo. pp. 1 12-1 13, 125; Exhibit #29 - Gawor declaration; Exhibit #30 - Gawor
Depo p. 189; Exhibit #31 - Hartzog declaration', Exhibit #32 - Pittman declaration; Exhibit #33 -
Walker declaration

37Exhibit #23 - Holt declaration; Exhibit #24 - Holt Depo. p. 142-144; Exhibit #25 - Smith
declaration; Exhibit #27 - Morris declaration', Exhibit #29 - Gawor declaration; Exhibit #31 -
Hartzog declaration; Exhibit #32 - Pittman declaration', Exhibit #33 - Walker declaration

38Store Manager, Assistant Manager, or hourly Key Supervisor

14

Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 15 of 25

employees based on the perceived need39 Store Managers and Assistant Store Managers are
informed that the number of manual adjustments to the schedule should be limited and are threatened

with a reprimand if they do not comply40

Rite Aid has been aware of the requirements of the FLSA and its implementing regulations
and, despite that knowledge, it has refused to comply by paying its employees overtime pay when
they perform overtime work. (Exhibit #4 - LeClair Depo. pp. 19-21, 23, 31, 37-38, 507 51, 70, 96;
Exhibit #17 - Markley Depo., pp. 43-44). ln addition to the Albrecht case in California that was
resolved, with among other things, all Assistant Managers being re-classified as non-exempt and
paid overtime for hours they work in excess of 40, LeClair testified he was aware of Department of
Labor claims filed in New Jersey an Assistant Manager and Manager, Department of Labor claims
in Oregon filed by an Assistant Manager, and an inquiry into the defendant with the FLSA in regard
to Assistant Managers and Store Managers by the Department of Labor in Washington state
(Exhibit #4 - LeClair Depo. pp. 13, 110, 112, 113; Exhibit #5). LeClair also testified that he was
aware of an individual FLSA claim filed by an Assistant Manager in Virginia. (Exhibit #4 - LeClair

Depo., p. 4). LeClair testified that the Department of Labor has also had discussions with Rite Aid

 

39Exhibit #10 - Panzer Depo. p. 180; Exhibit #34; Exhibit #7 - Bailey Depo. pp76-77; Exhibit
#23 - Holt declaration; Exhibit #25 - Smith declaration; Exhibit #26 - Smith Depo. pp. 128, 251-253;
Exhibit #27 - Morris declaration; Exhibit #28 - Morris Depo_ p. 93; Exhibit #29 - Gawor declaration;
Exhibit #30 - Gawor Depo., pp. 29, 306', Exhibit #31 - Hertzog declaration; Exhibit #32 - Pittman
declaration; Exhibit #33 - Walker declaration

40Exhibit #17 - Markley Depo. pp. 38-40; Exhibit #23 - Holt declaration; Exhibit #24 - Holt
Depo. pp. 142-144; Exhibit #25 - Smith declaration; Exhibit #26 - Smith Depo. pp. 121, 124-125;
Exhibit #27 - Morris declaration', Exhibit #28 - Morris Depo. pp. 114-115; Exhibit #29 - Gawor
declaration; Exhibit #30 - Gawor Depo,, pp. 192-193; Exhibit #3 1 - Hertzog declaration; Exhibit #32
- Pittman declaration', Exhibit #33 - Walker declaration

15

Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 16 of 25

about the need to perform audits on the Assistant Manager job classifications (Id. at p. 108)_
Despite its knowledge of the FLSA, its previous lawsuit in California and other states, and concerns
expressed by the Department of Labor, Rite Aid has conducted no study to determine what tasks an
Assistant Manager and Store Manager perform on a daily basis and continue to maintain that each
of these job classifications should be exempt (Exhibit #4 - LeClair Depo., pp. 70, 79-81, 96, 132-

133; Exhibit #17 - Markley Depo., pp. 42-43).

III. ARGUMENT

A. THE DISTRICT COURT IS AUTHORIZED TO ISSUE NOTICE TO
THE POTENTIAL OPT-INS

Section 216(b) of the FLSA provides in pertinent part:

Any employer who violates [the minimum wage or maximum hours provisions of

this title] shall be liable to the employee or employees affected in the amount of their

unpaid minimum wages, or their unpaid overtime compensation, as the case may be,

and in an additional equal amount as liquidated damages Action to recover such

liability may be maintained in any court of competent jurisdiction by any one or

more employees for and in behalf of himself or themselves and other employees

similarly situated No employee shall be a party plaintiff to any such action unless

he gives his consent in writing to become such a party and such consent is filed in the

court in which such action is brought
29 U.S.C. Section 216(b). "District courts have discretionary power to authorize the sending of
notice to potential class members in a collective action brought pursuant to Section 216(b). " White
v. Osmose, Inc., 204 F.Supp.2d 1309, 1313 (M.D. Ala. 2002); Horne, et. a/., v. Um'fed Servl'ces
AutomobileAssociation, 27 9 F .Supp.2nd 1231, 1233 (M.D. Ala. 2003);SeeH0ffman-LaR0c/1e, Inc.,
v. Sperll`ng, 493 U.S. 165, 110 S.Ct. 482, 107 L.Ed.2d 480 (1989);H1'pp v. Ll`bernyatl`onalLife, Ins.

Co, 252 F.3d1208, 1219 (11th Cir. 2001).

16

Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 17 of 25

A district court has the authority to facilitate timely notice regarding FLSA collective
litigation if it finds that there are other employees who may desire to opt-in and who are "similarly
situated" with respect to the job requirements and pay provisions Hojj‘inan-LaRoche, Inc. v.
Sperling, 493 U.S. 165, 168-69 (1989); Dybach v. State ofFla. Depz‘. of Corrections, 942 F.2d 1562,
1567-68 (11‘h Cir. 1991); Garner v. G.D. Searle Pharm. & Co., 802 F. Supp. 418, 419 (M.D.Ala.
1991); Hipp v. Ll`berly Nat’l Life Ins. Co., 164 F.R.D. 574, 575 (M.D. Fla. 1996); Belcher v.
Shoney’s, Inc., 927 F. Supp. 249, 251 (M.D. Tenn. 1996); Tucker v. Labor Leasing, Inc., 872 F.
Supp. 941, 947 (M.D. Fla. 1994); White v. Osman, 204 F.Supp.2d 1309, 1312 (M.D. Ala. 2002);
Horne v. United ServicesAutomobile Assoc., 275 F.Supp.2nd 1231 (M.D. Ala. 2003).

The court’s facilitation of notice to potential opt-in plaintiffs serves "the broad remedial
purpose of the Act [FLSA]." Dybach, 942 F.2d at 1567, quoting Braunstel`n v. Eastern
Photogmphic Lab., ]nc., 600 F.2d 335, 336 (2nd Cir. 1975), cert. denied, 441 U.S. 944 (1979); see
also Ho#man-LaRoche, 493 U.S. at 170 ("[a] collective action allows . . . plaintiffs the advantage
of lower individual costs to vindicate rights by the pooling of resources"). Court facilitation of a
Section 216(b) collective action also serves the equally important judicial interest of "efficient
resolution in one proceeding of common issues of law and fact arising from the same alleged . . .
activity." Id. Additionally, early participation by the district court protects against misleading
communications by the parties, resolves any dispute among the parties regarding the content of any
notice, prevents the proliferation of multiple individual lawsuits, and expedites resolution of the
dispute Garner, 802 F. Supp. at 427; see also Local Rule 23.1(C)(4)(b)(communication should not
misrepresent the status, purpose, and effects of the action). In the present case, early notice serves
the critical function of advising potential opt-in plaintiffs of their right to participate in this action

17

Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 18 of 25

by informing them of the requirement to file a consent to join as a party plaintiff pursuant to § 216(b)
before the running of the applicable FLSA statute of limitations

It is also abundantly clear that the notice motion is not a ruling on the merits of the plaintiffs’
claims Grayson v. KMart, 79 F.3d at 1099 n_17', Garner, 802 F.Supp. at 423 n3. See also, Eisen
v. Carll`sle & Jacquelin, 417 U,S. 156, 177 (1974)(plaintiffs need not demonstrate they will prevail
on the merits to obtain class certification under the more demanding requirements of Fed.R.Civ.P.
23).

All plaintiffs need to demonstrate at this stage of a collective action is that "there are other

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employees of the . . . employer who [may] desire to ‘opt-in and that these other employees are
‘similarly situated’ with respect to their job requirements and with regard to their pay provisions"
Dybach, 942 F.2d at 1567-68; Tucker, 927 F. Supp. at 947; Whl`te, 204 F.Supp.2d at 1312-1313;
Horne, 279 F.Supp.2d at 1234_ Plaintiffs may establish this through "substantial" and “detailed
allegations" in their complaint with some evidentiary support in the form of affidavits Grayson v.
K Mart, 79 F.3d at 1097. As demonstrated plaintiffs more than meet this standard for creating an
opt-in class and for issuance of notice under §216(b).

B. ISSUANCE OF NOTICE lS APPROPRIATE TO EFFECTUATE THE
FLSA’S BROAD REMEDIAL PURPGSES AS PLAINTIFFS MEET

THE "SIMILARLY SITUATED" STANDARD
This Court has previously stated that "[t]he first and dispositive question is whether the
original Plaintiffs and the potential opt-in plaintiffs are similarly situated" Harper, et. al., v.
Lovett’s Buffet, Inc., 185 F.R.D. 358, 362 (M.D. Ala. 1999)', W?‘lite, 204 F.Supp.2d at 1313; See
Dybach, 942 F.2d at 1567 . "A plaintiff bears the burden of establishing that he and the class he

wishes to represent are similarly situated" Id. See Grayson, 79 F.3d at 1096. "Ordinarily7 this

18

Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 19 of 25

burden is not heavy and may be met by detailed allegations supported by affidavits" Ia'.;
Grayson, 79 F.3d at 1097

For an opt-in collective action to be created under §216(b), an employee need only show that
he/she is suing his/her employer for himself/herself and on behalf of other employees "similarly
situated " Grayson v. KMart Corp. , 79 F.3d 10867 1096 (11th Cir.)7 cert. denied, 519 U. S. 982, 117
S.Ct. 435 (1996). Plaintiffs’ claims need not be identical to those of putative class members, but
need only be similar. Id.; Tucker, 872 F.Supp. at 947. Plaintiffs need only demonstrate "a
reasonable basis" for the allegation that a class of similarly situated persons may exist Grayson v.
KMart, 79 F.3d at 1097.

The standard plaintiffs must meet is thus considerably "less stringent" than the proof required
pursuant to Fed.R.Civ.P. 20(a) for joinder or FedR.Civ.P. 23 for class certification Grayson v. K
Marl‘, 79 F.3d at 1096. See also, Mooney v. Amch Services Co., 54 F.3d 12077 1214 (5th Cir.,
1995)(applying a "fairly lenient standard" for §216(b) determinations). A collective action does not,
therefore have to meet the particularized Rule 23 (a) criteria of numerosity, commonality, typicality,
and adequacy of representation

This Court has previously stated that "a plaintiff must demonstrate that employees outside
the Work location for Which the plaintiff has provided evidence were similarly affected by alleged
work policies in order for the court to certify a collective action which extends beyond the plaintiff s
own work location." Harper v. Lovett’s Bujj‘et, 185 F.R.D. 358, 363; Horne, et. al. v. Unl'ted
ServicesAutomobl`le Associatir)n, 279 F.Supp.2d at 123 5, p. 4. Here, the plaintiffs have established
through the evidence submitted herewith that the defendant maintains common job requirements and
pay provisions, common policies and procedures, common training and development guidelines,

19

Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 20 of 25

common job descriptions and common duties and responsibilities for all of its Assistant Store
Managers and all of its Store Managers throughout the country Thus, there is sufficient evidence,
at this stage, for the Court to find that there are other Store Managers throughout the country who
are similarly situated to Plaintiffs Holt, Smith, Gawor, Cooper, Hartzog and Pittman and that there
are other Assistant Store Managers throughout the country who are similarly situated to Plaintiff
Morris

1. Other Similarly Situated Rite Aid Employees May Desire To
Opt-In

An undetermined number of current and former Rite Aid Store Managers and Assistant Store
Managers are "similarly situated" to the named plaintiffs and may desire to opt into this collective
action Since this case was originally filed, four additional opt-ins have joined or requested to join
the suit Three of these individuals work in different states and districts than the original plaintiffs
There can be no question that there are thousands of Rite Aid employees who are similarly situated
to either the Store Manager named plaintiffs and/or the Assistant Manager named plaintiff As set
forth earlier, Rite Aid operates approximately 3,400 stores nationwide in 28 states and the District
of Columbia.41 (Exhibits #6, 7, and 9). Each of these stores employ a Store Manager and most of
the stores employ an Assistant Manager.

In addition to the California state collective action which was litigated from 1999 to 2001
on behalf of Assistant Mangers, Store Managers and Manager Trainees there have been and are

other cases filed throughout the country against Rite Aid for wage and hour violations There have

 

41Even taking out the California stores from the equation, Rite Aid still operates in excess
of 3,200 stores in 27 states and the District of Columbia. (Exhibit # 8).

20

Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 21 of 25

been and are currently wage and hours claims filed on behalf of individual Assistant Managers in
Virginia, Oregon, and New Jersey Moreover, the Department of Labor requested that Rite Aid
conduct audits of all of` its Assistant Managers (except California) for purposes of ensuring
compliance with the FLSA.42

Based on the four additional opt-ins that have joined or sought to join this suit, plus the
number of complaints filed with the Department of Labor, the other claims which have been filed
against defendant, and the similarity between all Store Managers throughout the country and the
named plaintiffs and between all exempt Assistant Managers throughout the country and Plaintiff
Morris the Court should find that there are suchient similarly situated employees who may desire
to opt into this collective action, if given notice of such action

2. Plaintiffs Have Carried Their Burden Of Demonstrating A
Reasonable Basis For A Collective Action Determination

The plaintiffs have carried their burden of demonstrating the propriety of proceeding as a
collective action Typically, discovery is not necessary prior to a determination on the issue of
§216(b) notice Mooney, 54 F.3d at 1213-14. Rather, a collective action is to be authorized and
notice issued when the plaintiffs have demonstrated a "reasonable basis" for the class allegations of
the complaint by filing declarations and consents from class members Grayson v. K Mart, 79 F.3d
at 1097.

Plaintiffs’ motion is more than adequately supported by the detailed allegations in the

 

42It should be noted that when performing these self-audits the District Managers performed
such audits by simply looking at the job descriptions and not interviewing or actually observing the
tasks preformed on a daily basis by each Assistant Manager. (Exhibit #4 - LeClair Depo. pp. 70, 79-
81, and 96; Exhibit #17 - Markley Depo. pp. 42-43).

21

Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 22 of 25

Complaint, Amended Complaints attached declarations deposition excerpts and exhibits This
evidentiary showing more than establishes "a reasonable basis" for proceeding as a collective action
Even where defendant offers contradictory evidence, the motion is not defeated so long as plaintiffs
"successfully engage" the defendant’s proof. Gmyson v. K Mart, 79 F.3d at 1099 n.17. The
plaintiffs have more than satisfied the quantum of proof typically required for issuance of notice
For example, in Tucker, 872 F. Supp. at 943, a collective action was authorized on the evidence
provided by one named plaintiff and two subsequent opt-ins In Garner, 802 F. Supp. at 422, the
court required issuance of notice where plaintiffs identified 40 employees with prima facie claims
of age discrimination43 Similarly, in Belcher, 927 F. Supp. at 252, the court found sufficient
evidence in the twenty-four (24) affidavits filed by plaintiffs in support of their motion that the
employer’s "practices were not limited to a single store or region " In sum, the plaintiffs’ proof is
more than adequate to support a finding that there are "similarly situated" Rite Aid employees who
should be apprized of the pendency of this action and given an opportunity to opt-in
C. THE PROPOSED NOTICE IS FAIR AND ADEQUATE

A collective action depends "on employees receiving accurate and timely notice concerning
the pendency of the collective action, so that they can make informed decisions about whether to
participate “ Hojjfman-LaRoche, 493 U. S. at 170. The Court authorized notice prevents “misleading
communications" such as is often unilaterally disseminated by defendants Id. at 172; Garner, 802

F. Supp. at 422. Plaintiffs’ proposed notice meets these criteria

 

43Age discrimination claims brought under the Age Discrimination in Employment act
(ADEA) are subject to the same opt-in mechanism as in the FLSA at Section 216(b). Hojj‘}nan-
LaRoche, 493 U.S. at 168; Gmyson v. KMart, 79 F.3d at 1096.

22

Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 23 of 25

Plaintiffs’ proposal for court-approved notice (Exhibit #1) to the potential opt-ins is "timely,
accurate, and informative" as required Ho]j”man-LaRoche, 493 U.S. at 172. It provides notice of
the pendency of the action and of the opportunity to opt-in (Exhibit #1, §§1, 4) The plaintiffs’
legal claims are accurately described (Id. at §2) as is the composition of the class (Id. at §3).
Potential opt-ins are advised that Rite Aid is defending against the claims (Id. at §2) and that they
are not required to participate (Id. at §4). The notice provides clear instructions on how to opt-in
(]d. at §4 and 7); describes the legal effect of joining the suit (Id. at §5); describes the legal effect
of not joining the suit (Id. at §6); notes that the Court expresses no opinion regarding the merits of
plaintiffs’ claims or Rite Aid’s liability (Id. at §8); and accurately states the prohibition against
retaliation or discrimination for participation in an FLSA action (ld. at §9)_ See also FLSA, 29
U.S.C. § 215 (a)(3); Reich v. Davis, 50 F.3d 962 (11th Cir. 1995),

Plaintiffs have proposed that the notice and consent forms be mailed by first class mail to all
Store Managers and Assistant Managers (with the exception of those employed in the State of
California) employed in the last three years prior to the filing of the Complaint Those class
members interested in participating would be required to file their consents with the Court within
90 days of the mailing This is consistent with established practice under the FLSA. Hojj‘}nan-
LaRoche, 493 U. S. at 172; Garner, 802 F. Supp. at 422 (cut-off date expedites resolution of action);
Hl'pp, 164 F.R,D. at 576 (M.D. Fla. 1996) ( 120-day filing period); Belcher, 927 F. Supp. at 252-55
(exemplar of company wide notice).

Therefore, the proposed notice (Exhibit #1) is fair and accurate and should be approved for

distribution

23

Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 24 of 25

D. THE PROPOSED LIMITED DISC()VERY IS ESSENTIAL TO
ENSURE TIMELY NOTICE

Discovery of a mailing list for Section 216(b) class members is a routine component of notice
in collective actions Ho]j‘inan-LaRoche, 493 U.S. at 170 ("District Court was correct to permit
discovery of the names and addresses . . ."); Grayson v. K Mart, 79 F.3d at 1111 (ordering
production of mailing list); Belcher, 927 F. Supp. at 252 (same); Hipp, 164 F.R.D. at 576 (same).
Given that such data would doubtlessly be taken from a computerized database, it should be

produced by Rite Aid in a computerized data file to facilitate the notice process

IV. CONCLUSION
For the foregoing reasons the Court should grant Plaintiffs’ motion to: (1) authorize this
matter to proceed as a collective action; (2) authorize mailing of the proposed notice (Exhibit #1)
to all Store Managers and Assistant Mangers (with the exception of those employed in California)
employed by Rite Aid during the three years prior to the filing of the Complaint; and (3) require Rite
Aid to produce a computer-readable data file containing the names addresses Social Security
number and telephone numbers of all such potential opt-in plaintiffs so that notice may be

implemented

24

Case 2:O3-cv-OO748-WHA-DRB Document 36 Filed 03/12/04 Page 25 of 25

Respectfully submitted,

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CERTIFICATE OF SERVICE

1 do hereby certify that 1 have mailed a copy of the above and foregoing, U. S. Mail, properly
addressed and postage prepaid on:

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This the _/i day of March, 2004.

ian/wi

OF COUNSEL

25

